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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:10-CR-00353 LJO

12                               Plaintiff,            ORDER GRANTING DEFENDANT’S MOTION
                                                       PURSUANT TO TITLE 18 U.S.C. § 3582(c)(2)
13                         v.

14   LORENZO SEGUNDO GALLEGOS,

15                              Defendant.

16

17         The defendant has filed a motion under 18 U.S.C. § 3582(c)(2), seeking a reduction in his

18 sentence on the basis of Amendment 782 to the Sentencing Guidelines which revises the Drug Quantity

19 Table in USSG § 2D1.1 and reduces by two levels the offense level applicable to many drug trafficking

20 offenses. The Government does not oppose the motion. The Court hereby grants the motion.

21         Section 3582(c)(2) authorizes district courts to modify an imposed sentence “in the case of a

22 defendant who has been sentenced to a term of imprisonment based on a sentencing range that has

23 subsequently been lowered by the Sentencing Commission.” United States v. Dunn, 728 F.3d 1151,

24 1155 (9th Cir. 2013). Effective November 1, 2014, the Commission promulgated Amendment 782,

25 which generally revised the Drug Quantity Table and chemical quantity tables across drug and chemical

26 types. The Commission also voted to make Amendment 782 retroactively applicable to previously
27 sentenced defendants.

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      ORDER GRANTING DEFENDANT’S MOTION TO REDUCE
      SENTENCE                                         1
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              Case 1:10-cr-00353-LJO Document 143 Filed 12/18/14 Page 2 of 2

 1           On April 16, 2012, this Court sentenced the defendant to a term of 77.5 months in in prison.

 2 This term reflected a downward departure from the defendant’s 120-month recommended sentence. The

 3 defendant’s total offense level was 29, his criminal history category was II, and the resulting guideline

 4 range was 120-121 months (the 97-month bottom of the guideline range was replaced by the 120-month

 5 mandatory minimum sentence). The sentencing range applicable to the defendant was subsequently

 6 lowered by the United States Sentencing Commission in Amendment 782, made retroactive on July 18,

 7 2014, see 79 Fed. Reg. 44,973, with an effective date of any such reduction as of November 1, 2015.

 8 The defendant’s total offense level has been lowered from 29 to 27, and this amended guideline range is

 9 78-97 months.

10           The original downward departure represented 20 percent of the bottom of the original guideline

11 range without reference to the mandatory minimum. The Court determines that the defendant shall be

12 granted a comparable reduction of 20 percent from the new guideline range.

13           IT IS HEREBY ORDERED that the term of imprisonment imposed on April 16, 2012, reflected

14 in the judgment dated April 20, 2012, is reduced to a term of 62 months, effective as of November 1,

15 2015.

16           IT IS FURTHER ORDERED that all other terms and provisions of the original judgment remain

17 in effect. The clerk shall forthwith prepare an amended judgment reflecting the above reduction in

18 sentence, an effective date of the amended judgment as November 1, 2015, and shall serve certified

19 copies of the amended judgment on the United States Bureau of Prisons and the United States Probation

20 Office.

21           Unless otherwise ordered, the defendant shall report to the United States Probation Office within

22 seventy-two hours after his release.

23
     IT IS SO ORDERED.
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25      Dated:     December 17, 2014                         /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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      ORDER GRANTING DEFENDANT’S MOTION TO REDUCE
      SENTENCE                                           2
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